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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                 :
Charles Schultz,                                 :
                                                 :
                                                 :
                      Plaintiff,                 :
                                                   Civil Action No.: 4:13-cv-01223
       v.                                        :
                                                 :
Enhanced Recovery Company, LLC,                  :
                                                                                                   (
                                                 :
                                                                                                   D
                                                 :
                                                                                                   R
                      Defendant.                 :
                                                                                                   H
                                                 :

                                   NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


Dated: November 1, 2013
                                             Respectfully submitted,

                                             By /s/ Jody B. Burton
                                             Jody B. Burton, Esq.
                                             Bar No.: 71681
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                                             Attorneys for Plaintiff
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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 1, 2013, a true and correct copy of the foregoing

Notice of Settlement was served electronically by the U.S. District Court Southern District of

Texas Electronic Document Filing System (ECF) and that the document is available on the ECF

system.


                                             By /s/ Jody B. Burton
                                                    Jody B. Burton
